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                           EXHIBIT A
                  State’s Motion to Set Execution
                     Alabama Supreme Court
               State of Alabama v Demetrius Frazier
                         Case No.: 1981111
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          IN THE SUPREME COURT OF ALABAMA

EX PARTE DEMETRIUS FRAZIER, )
                            )          .
In re: State of Alabama,    )
                            )
      Petitioner,           )
                            )
v.                          )                  No. _ _ __
                            )
Demetrius Frazier,          )
                            )
      Respondent.           )

STATE OF ALABAMA'S MOTION TO SET AN EXECUTION
                    DATE

     Pursuant to Rule 8(d)(l) of the Alabama Rules of Appellate

Procedure, the State of Alabama respectfully requests that this

Honorable Court issue an order authorizing the execution of

Demetrius Frazier's duly-adjudicated sentence of death.              In

support of its motion, the State asserts the following:

     Demetrius Frazier currently resides on Alabama's death

row, where he has spent the last twenty-seven years. As described

below, Frazier murdered Pauline Brown in November 1991. As a

result of this murder, Frazier was convicted of murder during a

robbery in violation of Ala. Code, §13A-5-40(a)(2). Frazier was

subsequently sentenced to death. Because Frazier has exhausted
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all three layers of appellate review (direct appeal, Rule 32, and

federal habeas), the State now seeks execution of Frazier's duly-

adjudicated death sentence.

     The State of Alabama previously moved this Court to

authorize the execution of Frazier's sentence in 2014. The State

asked the Court to hold that motion in abeyance due to litigation

challenging the State's lethal injection protocol. In June 2018,

Frazier elected nitrogen hypoxia as his preferred method of

execution. The Alabama Department of Corrections is prepared to

carry out Frazier's execution by this method of execution.

I.   Frazier has fully exhausted his appeals.

     A.    Facts of the Crime

     This Court summarized the facts of this case in its December

30, 1999, opinion, as follows:

     Frazier was arrested in Detroit, Michigan, in March
     1992, on a charge not related to the present case. While
     in the custody of the Detroit Police Department,
     Frazier was interrogated by Detective Kenneth
     Bresnahan. During this interrogation, Frazier
     confessed to the murder of a woman in Fountain
     Heights Apartments at Birmingham, Alabama.
     Detective Bresnahan contacted the Birmingham Police
     Department. Detective Kenneth Glass of the
     Birmingham Police Department traveled to Detroit to

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      further interrogate Frazier. Frazier gave Detective
      Glass a statement, which was recorded on audiotape.
      In that statement, Frazier again confessed to the
      murder.

     His statement related the following facts: Early on the
     morning of November 26, 1991, Frazier saw a light on
     in Pauline Brown's ground-floor apartment at the
     Fountain Heights Apartment complex in Birmingham.
     He removed a screen and entered the apartment
     through a window. Frazier searched the apartment and
     found $5 or $10 in one of the bedrooms. Frazier then
     heard a television set on in one of the other bedrooms
     and went to that bedroom to see if anyone was there.
     He found Ms. Brown asleep in the bedroom. He
     awakened her. Armed with a .22 caliber pistol, he
     demanded more money. Ms. Brown gave him $80 from
     her purse. Frazier then forced her at gunpoint to have
     sexual intercourse with him. While he was raping her,
     Ms. Brown begged Frazier not to kill her. When Ms.
     Brown refused to stop begging for her life, Frazier put
     the pistol to the back of her head and fired the gun.
     Fearing that someone had heard the gunshot, Frazier
     left the apartment. He went across the street to see if
     anyone had heard the shot. Satisfied that no one had
     heard the shot, he returned to the apartment. He
     searched the apartment for more money and confirmed
     that Ms. Brown was dead. He then went to the kitchen,
     ate two bananas, and left the apartment. He threw the
     pistol in a ditch.

Ex parte Frazier, 758 So. 2d 611, 611-612 (Ala. 1999).

     B.    Procedural History

     On June 5, 1996, Demetrius Frazier was convicted of one

count of capital murder for the death of Pauline Brown.

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Specifically, Frazier was found guilty of murder during a robbery

in violation of Ala. Code §13A-5-40(a)(2). Following a sentencing

hearing, the jury recommended that Frazier be sentenced to death

by a 10-to-2 vote. On August 8, 1996, the trial court accepted the

jury's recommendation and sentenced Frazier to death.

     On direct appeal, the Alabama Court of Criminal Appeals

and this Court affirmed Frazier's conviction and death sentence

for the capital murder and robbery of Pauline Brown. Frazier v.

State, 758 So. 2d 577 (Ala. Crim. App.}, aff'd, 758 So. 2d 611 (Ala.

1999). On October 2, 2000, the United States Supreme Court

denied Frazier's petition for writ of certiorari. Frazier v. Alabama,

531 U.S. 843 (2000).

     Frazier filed a petition for post-conviction relief under Rule

32 of the Alabama Rules of Criminal Procedure on September 24,

2001. The State filed an answer to the post-conviction petition on

January 31, 2002. On February 8, 2002, the trial court summarily

denied the post-conviction petition in a one-page docket entry. On

March 19, 2002, Frazier's counsel filed an "Emergency Motion to

Reconsider and Withdraw the Case Action Summary Sheet


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denying his Rule 32 petition, and in the Alternative, to Withdraw

its Case Action Summary Sheet, enter a new order, and ensure

that petitioner is promptly notified of that order." Frazier also

filed an amended Rule 32 petition on this date. The claims in the

amended petition were exactly the same as the claims in the

original petition, except that Frazier added a juror misconduct

claim.

     On March 21, 2002, Frazier filed a notice of appeal. The

State filed a motion to strike Frazier's motion for reconsideration

and alleged that the trial court had no authority to consider such a

post-judgment motion under Rule 32 of the Alabama Rules of

Criminal Procedure. On April 3, 2002, the trial court granted the

State's motion to strike Frazier's motion to reconsider.

     On appeal, the Alabama Court of Criminal Appeals

remanded the case with instructions that the trial court correct

numerous deficiencies in its judgment and ordered the trial court

to conduct an evidentiary hearing if required. Frazier v. State, 884

So. 2d 908 (Ala. Crim. App. 2003). The Alabama Court of Criminal

Appeals also held that the juror misconduct claim could not be


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heard because "it was filed after the appellant had knowledge that

his original petition had been denied, and [it was filed] beyond the

two year statute of limitations period." Id., at 911.

     On March 7, 2003, the trial court denied relief on the claims

in the Rule 32 petition without holding an evidentiary hearing.

The Alabama Court of Criminal Appeals affirmed the denial of the

Rule 32 petition on August 15, 2003, in an unpublished opinion.

This Court denied Frazier's petition for writ of certiorari on

January 30, 2004.

     Frazier filed a petition for writ of habeas corpus on February

3, 2004. He filed an amended habeas petition on May 10, 2004.

The State of Alabama filed its answer to the amended habeas

petition on July 6, 2004, and a corrected answer on July 12, 2004.

On September 28, 2007, Judge R. David Proctor entered a

memorandum opinion and final judgment denying the habeas

petition. Frazier filed a motion to alter or amend judgment on

October 15, 2007. This motion was denied on September 22, 2008.

The Eleventh Circuit Court of Appeals affirmed the denial of the




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habeas petition on October 25, 2011. Frazier v. Bouchard, 661

F.2d 519 (11th Cir. 2011).

      Frazier then filed a petition for writ of certiorari in the

United States Supreme Court. The United States Supreme Court

denied Frazier's certiorari petition on October 1, 2012.

                          CONCLUSION

      There are currently no pending challenges to the validity of

Frazier's conviction and death sentence. Frazier has exhausted his

direct appeal, his state post-conviction remedies, and his federal

habeas corpus remedies. As such, it is time for his sentence to be

carried out. Pursuant to Rule 8(d)(l) of the Alabama Rules of

Appellate Procedure, the State requests that this Court issue an

order authorizing the Governor to set a timeframe for the

execution of Frazier's lawful sentence of death.

                                  Respectfully submitted,

                                  STEVE MARSHALL
                                  Attorney General
                                  BY-


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                                  Beth J     on Hughe~
                                  Assistant Attorney General

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              CERTIFICATE OF COMPLIANCE

      I certify that this motion complies with the word limitation

set forth in ALA. R. APP. P. 27. This motion contains 1,262 words,

including all headings, footnotes, and quotations, and excluding

the parts of the motion exempted under ALA. R. APP. P. 32(c).

     I further certify that this motion complies with the font

requirements set forth in ALA. R. APP. P. 32(a)(7). This motion was

prepared in 14-point Century Schoolbook font.



                                'is.,...~;&.c.-\_""" 1-b~ v-:,--
                                 Beth ~ ; , ;Hughes -
                                 Assistant Attorney General




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                  CERTIFICATE OF SERVICE

      I hereby certify that on October 18, 2024, I filed the

 foregoing with the clerk of the court. I also served a copy of the

 foregoing on Demetrius Frazier by United States Mail, first-class

 postage prepaid and addressed as follows:

      Demetrius Frazier, Z608
      Holman 3700
      William C. Holman Correctional Facility
      Atmore, AL 36503-3700


      Additionally, I served a copy upon counsel for Frazier by

electronic mail, addressed as follows:

      John A. Palombi, Esq,
      J ohn_Palombi@fd.org


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                                  Beth J a    niiughes
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